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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                Chief Judge Marcia S. Krieger

 Civil Action No. 13-cv-01448-MSK
 Criminal Action No. 12-cr-00010-MSK-1

 UNITED STATES OF AMERICA,

 v.

 GEORGE HARRISON ASKEW,

        Movant.


                                             ORDER


        On June 10, 2013, the Court issued an order directing the United States Attorney to file
 an answer in this case on or before July 1, 2013. It has come to the Court’s attention that the
 June 10, 2013 order was docketed in the civil case, but not in the criminal action. Accordingly,
 it is

        HEREBY ORDERED that the clerk of the court shall promptly docket the June 10,
 2013 order in the criminal action. It is

         FURTHER ORDERED that, on or before August 18, 2013, the United States Attorney
 shall comply with the June 10, 2013 order to file an answer or other pleading directed to the
 motion pursuant to Rule 4 of the Rules Governing Section 2255 Proceedings.

        Dated this 19th day of July, 2013.

                                                     BY THE COURT:




                                                     Marcia S. Krieger
                                                     Chief United States District Judge
